Case 2:18-cv-00094-HCM-LRL Document 622 Filed 10/05/20 Page 1 of 1 PageID# 24065




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division


  CENTRIPETAL NETWORKS, INC.,

                         Plaintiff,

         v.                                                    Civil Action No. 2:18cv94

  CISCO SYSTEMS, INC.,

                         Defendants.


                                  JUDGMENT IN A CIVIL CASE

         Decision by the Court. This action came to trial before the Court. The issues have been
         tried and a decision has been rendered.

  IT IS ORDERED AND ADJUDGED that the Court FINDS the ‘856 Patent, the ‘176 Patent, the
  ‘193 Patent, and the ‘806 Patent claims valid and literally INFRINGED and the ‘205 Patent NOT
  INFRINGED. The Court FINDS the actual damages suffered by Centripetal as a result of
  infringement total $755,808,545; that the infringement was willful and egregious and shall be
  enhanced by a factor of 2.5x to equal $1,889,521,362.50. The Court awards pre-judgment interest
  of $13,717,925 applied to the actual damages before enhancement plus its costs. This, accordingly,
  equals a total award of $1,903,239,287.50 payable in a lump sum due on the judgment date. The
  Court, additionally, imposes a running royalty of 10% on the apportioned sales of the accused
  products and their successors for a period of three years, followed by a second three-year term with
  a running royalty of 5% on said sales upon the terms described supra. It DENIES any further relief
  to Centripetal at the termination of the second three-year term.


  Dated: October 5, 2020                               FERNANDO GALINDO, Clerk


                                                By:                 /s/
                                                       B. Peters, Deputy Clerk
